 

IN THE UNITED STATES DISTRICT COURT

/én>.>

F:F'* “\

   
    

FoR THE MIDDLE DISTRICT oF NoRTH cARoLIN;§}*
SEP 2 8 "018
UNITED sTATEs oF AMERICA z 1;180R283-1 v §,l_ y
V. . fly
DAQUAN MARQUEL GARNER PLEA AGREEMENT

NOW COME the United States of America, by and through Matthew
G.T. Martin, United States Attorney for the Middle District of North Carolina,
and the defendant, DAQUAN MARQUEL GARNER, in his own person and
through his attorney, Tiffany T. Jefferson, and state as follows:

1. ‘The defendant, DAQUAN MARQUEL GARNER, is presently
under Indictment in case number 1:18CR283-1, Which in Count One charges
him aviolation of Title 21, United States Code, Sections 841(a)(1) and (b)(l)(C),
possession With intent to distribute a quantity of a mixture and substance
containing a detectable amount of cocaine base; and Which in Count TWo
charges him With a Violation of Title 18, United States Code, Sections 922(g)(1)
and 924(a)(2), felon in possession of a firearm.

2. The defendant, DAQUAN MARQUEL GARNER, Will enter a
voluntary plea of guilty to Count Two of the Indictment herein. The nature of

this charge and the elements of this charge, Which must be proved by the

Case 1:18-cr-00283-LCB Document 13 Filed 09/28/18 Paoe 1 of 8

 

United States beyond a reasonable doubt before the defendant can be found
guilty thereof, have been explained to him by his attorney.

a. The defendant, DAQUAN MARQUEL GARNER,
understands that the maximum term of imprisonment provided by law for
Count Two of the Indictment herein is not more than ten years, and the
maximum fine for Count Two of the Indictment herein is $250,000, or both. If
any person derived pecuniary gain from the offense, or if the offense resulted
in pecuniary loss to a person other than the defendant, DAQUAN MARQUEL
GARNER, the defendant may, in the alternative, be fined not more than the
greater of twice the gross gain or twice the gross loss unless the Court
determines that imposition of a fine in this manner would unduly complicate
or prolong the sentencing process. The fine provisions are subject to the
provisions of Title 18, United States Code, Section 3571, entitled "Sentence of
Fine." The defendant, DAQUAN l\/IARQUEL GARNER, also understands
that the Court may include as a part of the sentence a requirement that the
defendant be placed on a term of supervised release of not more than three
years after imprisonment, pursuant to Title 18, United States Code, Section
3583.

b. The defendant, DAQUAN MARQUEL GARNER, further

understands that upon the acceptance by the Court of a guilty plea to Count

Case 1:18-cr-00283-LCB Document 13 Filed 09/28/18 Paoe 2 of 8

 

Two of the Indictment herein, the defendant could be subject to the enhanced
penalty provisions of Title 18, United States Code, Section 924(e)(1) at the time
of sentencing if the defendant has three previous convictions by any court for
a violent felony or a serious drug offense, committed on occasions different from
one another. If the Court determines that Title 18, United States Code,
Section 924(e)(1) is applicable, the term of imprisonment shall be not less than
fifteen years, nor more than life. In addition, the defendant cannot be placed
on probation or receive a suspended sentence. The defendant, DAQUAN
MARQUEL GARNER, also understands that the Court may include as a part
of the sentence a requirement that the defendant be placed on a term of
supervised release of not more than five years after imprisonment, pursuant
to Title 18, United States Code, Section 3583.

c. The defendant, DAQUAN MARQUEL GARNER, further
understands that the sentence to be imposed upon him is within the discretion
of the sentencing Court subject to the statutory maximum and mandatory
minimum penalties set forth above. The sentencing Court is not bound by the
sentencing range prescribed by the United States Sentencing Guidelines.
Nevertheless, the sentencing Court is required to consult the Guidelines and
take them into account when sentencing In so doing, the sentencing Court

will first calculate, after making the appropriate findings of fact, the

Case 1:18-cr-00283-LCB Document 13 Filed 09/28/18 Paoe 3 of 8

 

sentencing range prescribed by the Guidelines, and then will consider that
range as well as other relevant factors set forth in the Guidelines and those
factors set forth in Title 18, United States Code, Section 3553(a) before
imposing the sentence.

d. The defendant, DAQUAN MARQUEL GARNER,
understands that if he is not a citizen of the United States that entering a plea
of guilty may have adverse consequences with respect to his immigration
status. The defendant, DAQUAN MARQUEL GARNER, nevertheless wishes
to enter a voluntary plea of guilty regardless of any immigration consequences
his guilty plea might entail, even if such consequence might include automatic
removal and possibly permanent exclusion from the United States. The
defendant, DAQUAN MARQUEL GARNER, further understands that in the
event he is a naturalized citizen, entering a plea of guilty may result in
denaturalization proceedings being instituted against him leading to his
removal and possible permanent exclusion from the United States.

3. By voluntarily pleading guilty to Count 'l\)vo of the Indictment
herein, the defendant, DAQUAN MARQUEL GARNER, knowingly waives and
gives up his constitutional rights to plead not guilty, to compel the United
States to prove his guilt beyond a reasonable doubt, not to be compelled to

incriminate himself, to confront and cross-examine the witnesses against him,

4

Case 1:18-cr-00283-LCB Document 13 Filed 09/28/18 Paoe 4 of 8

 

to have a jury or judge determine his guilt on the evidence presented, and other
constitutional rights which attend a defendant on trial in a criminal case.

4. The defendant, DAQUAN MARQUEL GARNER, is going to plead
guilty to Count Two of the Indictment herein because he is, in fact, guilty and
not because of any threats or promises

5. The extent of the plea bargaining in this case is as follows:

a. Upon the acceptance by the Court of a guilty plea by the
defendant, DAQUAN l\/.[ARQUEL GARNER, to Count Two of the Indictment
herein, and at the conclusion of the sentencing hearing thereon, the United
States will not oppose a motion to dismiss the remaining count of the
Indictment as to the defendant, DAQUAN MARQUEL GARNER. This
portion of the Plea Agreement is made pursuant to Rule 11(c)(1)(A) of the
Federal Rules of Criminal Procedure.

b. lt is understood that if the Court determines at the time of
sentencing that the defendant, DAQUAN MARQUEL GARNER, qualifies for
a 2-point decrease in the offense level under Section 3E1.1(a) of the Sentencing
Guidelines and that the offense level prior to the operation of Section 3E1.1(a)
is 16 or greater, then the United States will recommend a decrease in the

offense level by 1 additional level pursuant to Section 3E1.1(b) of the

Case 1:18-cr-00283-LCB Document 13 Filed 09/28/18 Paoe 5 of 8

 

Sentencing Guidelines. This portion of the Plea Agreement is made pursuant
to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure.

c. The defendant, DAQUAN MARQUEL GARNER, hereby
abandons interest in, and consents to the official use, destruction, or other
disposition of each item seized and/or maintained by any law enforcement
agency during the course of the investigation, unless such item is specifically
provided for in another section of this plea agreement The
defendant, DAQUAN MARQUEL GARNER, waives any and all notice of any
proceeding to implement the official use, destruction, or other disposition of
such items.

6. The defendant, DAQUAN MARQUEL GARNER, agrees that
pursuant to Title 18, United States Code, Section 3613, all monetary penalties,
including restitution imposed by the Court, shall be due immediately upon
judgment and subject to immediate enforcement by the United States. The
defendant agrees that if the Court imposes a schedule of payments, the
schedule of payments shall be merely a schedule of minimum payments and
shall not be a limitation on the methods available to the United States to
enforce the judgment

7 . The defendant, DAQUAN MARQUEL GARNER, agrees that his

debt resulting from the criminal monetary penalties due under the criminal

Case 1:18-cr-00283-LCB Document 13 Filed 09/28/18 Paoe 6 of 8

 

judgment will be submitted to the Treasury Offset Program even if he is
current in his payments under any Court imposed payment schedule.

8. lt is further understood that the United States and the defendant,
DAQUAN MARQUEL GARNER, reserve the right to bring to the Court's
attention any facts deemed relevant for purposes of sentencing

9. The defendant, DAQUAN MARQUEL GARNER, further
understands and agrees that pursuant to Title 18, United States Code,
Section 3013, for any offense committed on or after October 11, 1996, the
defendant shall pay an assessment to the Court of $100 for each offense to
which he is pleading guilty. This payment shall be made at the time of
sentencing by cash or money order made payable to the Clerk of the United
States District Court. If the defendant is indigent and cannot make the
special assessment payment at the time of sentencing, then the defendant
agrees to participate in the Inmate Financial Responsibility Program for
purposes of paying such special assessment

10. No agreements, representations, or understandings have been

made between the parties in this case other than those which are explicitly set

Case 1:18-cr-00283-LCB Document 13 Filed 09/28/18 Paoe 7 of 8

 

forth in this Plea Agreement, and none will be entered into unless executed in

writing and signed by all the parties.

This the a;lw\day of gggl§jflyll 12 Y , 2018.

MATTHEW G.T. MARTIN
United States Attorney

  

 

 

Attorney for Defend

M/w Wl v dwsz m %8°\\\0\\ bo\\\n(

JoHN M. ALsUP DAQUAN MARQUEL GARNER
NCSB #43386 Defendant

Assistant United States Attorney

101 S. Edgeworth St., 4th Floor

Greensboro, NC 27401

336/333-5351

j

Case 1:18-cr-00283-LCB Document 13 Filed 09/28/18 Paoe 8 of 8

